             Case 9:18-ap-01070-DS                   Doc 17 Filed 12/18/18 Entered 12/18/18 15:02:50                                     Desc
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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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    Attorneys for Defendants
    CHARLES MILLER
    PIERRE CHAO
    JOHN MEI
    DAVID OLDHAM
         Individual appearing without attorney
         Attorney for Defendants

                                             UNITED STATES BANKRUPTCY COURT
                                       CENTRAL DISTRICT OF CALIFORNIA - Name of DIVISION
                                                                        NORTHERN    DIVISION

    In re:
                                                                                CASE NO.: 9:16-bk-11912-DS
CHANNEL TECHNOLOGIES GROUP, LLC,                                                CHAPTER:
                                                                                ADVERSARY NO.: 9:18-ap-01070-DS
                                                                 Debtor(s).
CORPORATE RECOVERY ASSOCIATES, LLC, as
Trustee for the Liquidating Trust of Channel Technologies
Group, LLC,
                                                                                NOTICE OF LODGMENT OF ORDER OR
                                                                Plaintiff(s),   JUDGMENT IN ADVERSARY PROCEEDING
                                      vs.                                       RE: (title of motion 1):
KEVIN RUELAS, PIERRE CHAO, JOHN MEI, LYNN
CHEN, CHRISTOPHER HOLMES, MARK SHAW,
CHARLES MILLER, DAVID OLDHAM, et al.,

                                                               Defendant.




PLEASE TAKE NOTE that the order or judgment titled

was lodged on (date)         12/18/2018           and is attached. This order relates to the motion which is docket number                         .




1
    Please abbreviate if title cannot fit into text field.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2012                                                            Page 1                 F 9021-1.2.ADV.NOTICE.LODGMENT
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                              ATTACHMENT
     Case 9:18-ap-01070-DS          Doc 17 Filed 12/18/18 Entered 12/18/18 15:02:50   Desc
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 5
     Attorneys for Defendants
 6
     CHARLES MILLER
 7   PIERRE CHAO
     JOHN MEI
 8   DAVID OLDHAM

 9
                                    UNITED STATES BANKRUPTCY COURT
10
                                    CENTRAL DISTRICT OF CALIFORNIA
11
                                           NORTHERN DIVISION
12
     In re:                                          Case No. 9:16-bk-11912-DS
13
14   CHANNEL TECHNOLOGIES GROUP, LLC,                Chapter 11

15                    Debtor.                        Adv. No. 9:18-ap-01070-DS

16   CORPORATE RECOVERY ASSOCIATES,                  ORDER GRANTING STIPULATION TO
     LLC, as Trustee for the Liquidating Trust of    EXTEND TIME TO RESPOND TO
17   Channel Technologies Group, LLC,                COMPLAINT AND MOTION TO REMAND
18                    Plaintiffs,
     v.
19
20   KEVIN RUELAS, PIERRE CHAO, JOHN MEI,
     LYNN CHEN, CHRISTOPHER HOLMES,
21   MARK SHAW, CHARLES MILLER, DAVID
     OLDHAM, et al.,
22
                      Defendants.
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                          ORDER GRANTING STIPULATION TO EXTEND TIME TO RESPOND
     LA 133712490v1
     Case 9:18-ap-01070-DS         Doc 17 Filed 12/18/18 Entered 12/18/18 15:02:50              Desc
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 1           The court having considered the Stipulation To Extend Time to Respond to Complaint and
 2 Motion to Remand (the “Stipulation”) between defendants Charles Miller, Pierre Chao, John Mei and
 3 David Oldham (collectively, the “Defendants”) and plaintiff Corporate Recovery Associates, LLC, and
 4 good cause appearing therefor,
 5           IT IS HEREBY ORDERED that
 6           1.   The time to respond to the Complaint is extended to January 7, 2019.
 7           2. The time to file an Opposition to the Motion is extended to January 7, 2019.
 8           3. Plaintiff may file a Reply to any Opposition to the Motion on or before January 11, 2019.
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                                  ORDER GRANT STIPULATION TO EXTEND TIME
     LA 133712490v1
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Greenberg Traurig LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): ORDER GRANTING STIPULATION TO EXTEND
TIME TO RESPOND TO COMPLAINT AND MOTION TO REMAND will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
December 18, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

    •   Brian D Fittipaldi brian.fittipaldi@usdoj.gov
    •   Christian A Orozco corozco@lynnllp.com, thooker@lynnllp.com
    •   Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
    •   Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;laik@gtlaw.com
    •   United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov

                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On December 18, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on December 18, 2018, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
VIA MESSENGER
Honorable Deborah J. Saltzman, United States Bankruptcy Court
255 E. Temple Street, Courtroom 1339, Los Angeles, CA 90012
                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 18, 2018                   Terrine Pearsall                                        /s/ Terrine Pearsall
 Date                        Printed Name                                                    Signature




         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                        F 9013-3.1.PROOF.SERVICE
LA 133712490v1
        Case 9:18-ap-01070-DS                   Doc 17 Filed 12/18/18 Entered 12/18/18 15:02:50                                     Desc
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                                      PROOF OF SERVICE OF DOCUMENT
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 Greenberg Traurig LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
    12/18/2018        I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
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  • Brian D Fittipaldi brian.fittipaldi@usdoj.gov
  • Christian A Orozco corozco@lynnllp.com, thooker@lynnllp.com
  • Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
  • Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;laik@gtlaw.com
                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

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                                                                                                   12/18/2018      I served
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filed.
 VIA MESSENGER
 Honorable Deborah J. Saltzman, United States Bankruptcy Court
 255 E. Temple Street, Courtroom 1339, Los Angeles, CA 90012


                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/18/2018           Terrine Pearsall                                                       /s/ Terrine Pearsall
Date                       Printed Name                                                      Signature




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